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FILED PARTIALLY UNDER SEAL

Exhibit 76

April 8, 2024 Notice (2 of 7)
(Exhibits Omitted)
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Catalina Re

April 8, 2024 Catalina U.S. Insurance Services LLC
5 Batterson Park Road, 3" Floor

Jeffrey Silver Farmington, CT 06032

Pennsylvania Insurance Company Catalinare.com

10805 Old Mill Road Administrator on behalf of:

Omaha, NE 68154 Alea North America Insurance Company

National American Insurance Company of California
National Home Insurance Company (RRG)
SPARTA Insurance Company

Members of Catalina Holdings (Bermuda) Ltd.

Re: Notice of Section 8.1 Indemnification Claim

Dear Mr. Silver:

Pursuant to Section 8.1 of the Stock Purchase Agreement ("SPA") entered into
among SPARTA Insurance Holdings, Inc., predecessor to SPARTA Insurance Company,
("SPARTA") Pennsylvania General Insurance Company, later re-named Pennsylvania
Insurance Company, (“PGIC”) and OneBeacon Insurance Company ("OneBeacon"), and
dated as of March 12, 2007, I am writing on behalf of SPARTA to provide notice that
SPARTA has received notice of the following claim made against a policy issued by
American Employers’ Insurance Co. (“AEIC”) prior to SPARTA’s acquisition of AEIC:

Claimant Insured Policy No(s).

Redacted Redacted Redacted

Enclosed are copies of (A) the AEIC policy or policies under which the claim is
being made, attached as Exhibit A (provided via thumb drive)'; and (B) the notice of claim
or other documentation received by SPARTA regarding what the claimed expense is for
and any correspondence with the claimant by or on behalf of SPARTA to date, attached as
Exhibit B.

PGIC is responsible for the handling and defense of this claim under the SPA and
the Instrument of Transfer and Assumption between PGIC and AEIC dated June 15, 2005.

1 Password provided separately by email.
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Catalina Re

Please immediately confirm that PGIC will assume control and defense of the above
claim. If PGIC does not notify SPARTA that it will assume the control and defense of this
claim within ten business days from receipt of this letter, SPARTA may take action to pay,
compromise or settle the claim to protect its interests as necessary with respect to the claim
and will look to PGIC for reimbursement for all costs incurred in that necessary action.

In addition, SPARTA provides notice of PGIC’s obligation to indemnify and hold
harmless SPARTA from all “loss, cost, expense, claim, interest, fine, penalty, deficiency,
obligation, liability or damage, including, without limitation, reasonable attorneys’ fees,
accountants’ fees and other investigatory fees and out-of-pocket expenses, actually

expended or incurred by” SPARTA in connection with the above claim pursuant to Section
8.1 of the SPA.

Because the above-identified claim remains ongoing and SPARTA may incur
ongoing expense with respect to the claim (which ultimately is the responsibility of PGIC),
the dollar amount of the foregoing claim for indemnification cannot be determined at this
time. Pursuant to Section 8.3 of the SPA, SPARTA will provide written notice to PGIC of
the dollar amount of the foregoing claim after SPARTA has determined such dollar
amount(s).

SPARTA reserves all rights.

Please contact me if you need additional information or believe any of the forgoing
is incorrect.

Very truly yours,

sta MGA

Joshua Weiner

Enclosures

cc: Samuel C. Kaplan (via email w/enclosures as requested by PGIC)
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Exhibits Omitted
